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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                        LAFAYETTE DmSION

 AMERICAN SCIENTIFIC MED, LLC CASE NO. 6:20-CV-01538

 VERSUS JUDGE ROBERT R. SUMMERHAYS

 MAYMACS, me. MAG. JUDGE PATRICK J. HANNA




                                             JUDGMENT

        Before this Court is a motion to sever and to transfer (Rec. Doc. 26) filed by third-party


 defendant VWR, International, LLC ("VWR"). This motion was referred to United States

 Magistrate Judge Patrick J. Hanna for report and recommendation. After an independent review


 of the record, including the absence of objections filed, this Court concludes that the Magistrate


 Judge's report and recommendation is correct and adopts the findings and conclusions therein as


 its own. Accordingly,


        IT IS ORDERED, ADJUDGED, AND DECREED that, consistent with the report and

 recommendation, the motion to sever and to transfer filed by VWR (Rec. Doc. 26) is GRANTED


 and, accordingly, all claims by defendant Maymacs against third-party defendant VWR are hereby


 severed from this suit and shall constitute a separate suit to be transferred to the U.S. District Court


 for the Eastern District of Pennsylvania for all further proceedings.


         Signed at Lafayette, Louisiana, this [^[ l day of October, 2021.




                                                     iERT R. SUMMERHAYS
                                                 UNITED STATES DISTRICT JUDGE
